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                                             July 21, 2023

 VIA ECF

Hon. Cathy L. Waldor, U.S.M.J.
United States District Court
District of New Jersey
Martin Luther King Building & U.S. Courthouse
50 Walnut Street
Newark, New Jersey 07102

       RE:     Delahoy v. Samsung Electronics America, Inc., et al.
               Civil Action No. 22-04132 (CCC) (CLW)

Dear Judge Waldor:

       Interim Class Co-Lead Counsel has, per ECF No. 45, met and conferred with counsel for
Defendants Samsung Electronics America, Inc. (“SEA”) and Samsung Electronics, Co., Ltd.
(“SEC”) regarding the deadlines for the filing of an amended consolidated class action complaint
and responses to that complaint. On behalf of all Parties, we write to respectfully present a joint
proposed pleading schedule to the Court for consideration:

                     Event                                             Date

  Amended Consolidated Class Action Compl.                       August 25, 2023

        Defendants’ Motion to Dismiss                            October 9, 2023

  Plaintiffs’ Opposition to Defendants’ Motion                  November 17, 2023
                   to Dismiss

  Defendants’ Reply in further Support of their                 December 13, 2023
              Motion to Dismiss


       We thank the Court for its kind consideration of this submission. Should Your Honor have
any questions, we are available at the Court’s convenience.

                                             Respectfully submitted,
                                                                              SO ORDERED.

                                                                              s/ Cathy L. Waldor
                                                                              Hon. Cathy L. Waldor, U.S.M.J.
                                             Zachary Arbitman
                                                                              Date: July 24, 2023


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